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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                            Plaintiff,           )
                                                 )
v.                                               )      Case No. 4:08CR3078
                                                 )
PEEAIR SHAUN WARD,                               )
                                                 )
                            Defendant.           )

                                           ORDER

       THIS MATTER comes before the Court on defendant's Request to File Statement

Under Seal, filing 134. The Court, being fully advised in the premises, finds that said Motion

should be granted.

       IT IS THEREFORE ORDERED that, pursuant to NECrimR 49.3(c) and (d), the Clerk

shall file defendant’s Statement in Support of Rule 35 Motion under seal.

       DATED this 4th day of November, 2009.

                                                 BY THE COURT:

                                                 s/ W arren K. Urbom

                                                 The Honorable W arren K. Urbom
                                                 Senior United States District Judge
